Case 1:23-mj-04293-DHH Document 19-10

JACK TEIXEIRA

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STUDENT ID:XXxXxXx6392
DOB :21-Dec-AXXKX
SEX:M

 

REGISTERED FOR

OnY INFORMATION SYSTEMS TECHNOLOGY

15-Nov-2019

 

 

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CYBER TRANSPORT SYSTEMS
NETWORK FUNDAMENTALS Il
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5.00 §

KEESLER AFB 16-Feb-2021

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KEESLER AFB 29-Apr-2021
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1/nhernandez/ISSUED AS OFFICIAL -- ANNOTATE IF GIVEN TO STUDENT

ZS

ASHALANA L. MODYGO, CAPT, USAF
REGISTRAR, ENROLLMENT MANAGEMENT

22-Jul-2022
DATE OF ISSUE

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Transcript Legend

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